AFFIDAVITOF THE CUSTODIAN OF BUSINESs RECORDS




STATE OF ARIZONA



COUNTY OF MARiigPA



MV NAME      lS Steohen   D' C?rman


                                                      AS5ISTANT FOR AMER|CI|N EXPREsS'
I HEREBY CERTIFY THAT I,AM EMPLOYED AS AN INVEMGATIVE



TELEFHONE -1 (866) 375-3684



                                 25{1:09   PH.OENIX. AZ    85054
ADDRESS. 18S50'N 56IH ET MC



I   HEREBY CERTIFY AS INVESTIGATIVE ASSISTANTIHAVECARE.CUSToDYANDCoNTRoLoFBUSINESS
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COMPANY




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